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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS


In Re: JBM Janitorial Maintenance, Inc.      §                   Case No.: 18−32691
                                             §
       Debtor                                §                   Chapter: 7

                            Notice of Proposed Abandonment

      The chapter 7 trustee in this case has submitted a Report of No Distribution, and
proposes to abandon all property of the estate scheduled by the Debtor(s) pursuant to FED.
R. BANKR. P. 6007(a) that has not been previously abandoned. Any party in interest may
file and serve an objection within 14 days of the sending of this Notice. If no timely
objection is filed, all scheduled assets not previously abandoned will be abandoned without
the necessity of further Court order. If a timely objection is filed, the proposed
abandonment will not occur until the Court rules on the proposed abandonment. If the
chapter 7 trustee's Report of No Distribution is withdrawn within 14 days of the date of this
notice, the proposed abandonment is likewise withdrawn.


Date: 8/3/18
                                                        /s/ David J. Bradley
